Case 18-24470-SLM Doci8s0 Filed O3/siiz® Entered 03/31/25 12:32:10 Desc Main

Wh 2k 37/1 ee

Ls Oh FAY My iCal / (a oat i
Serial Numbar a pan Pen .5, Dollars and Cents

“One Thousand Dollars and “$1009.

ite ae renee are
Pe 7 Lek Wee 79 Keep le SL
Oto Sok A) @P522

ONLY IN THE U.S, AND Ratan

l
i izexsrles a dee

Serial Number

$10900,.09

© One Teen a and (0/10 HERRERA ERE AS

Serial Number

wation Stan adog <
|= Fo, Ged 6 Oe A

_ Dole. S_TXPARMTTE ea? lew Sy

2 hesog AA7 02°22.

wa E ONLY IN THE U.S, AND POSSESSIONS

